         Case 2:11-cr-20704-SFC-RSW ECF No. 46, PageID.102 Filed 12/14/11 Page 1 of 3
AO 472 (Rev. 09/08) Detention Order Pending Trial


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                    EASTERN DISTRICT OF MICHIGAN

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.     11-20704
                          Isaiah Price                               )
                            Defendant                                )

                                               DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                             Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
         of     G a federal offense          G a state or local offense that would have been a federal offense if federal
              jurisdiction had existed - that is
               G a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                 for which the prison term is 10 years or more.

               G an offense for which the maximum sentence is death or life imprisonment.
               G an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                  .*
               G a felony committed after the defendant had been convicted of two or more prior federal offenses
                 described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses:

               G any felony that is not a crime of violence but involves:
                   G a minor victim
                   G the possession or use of a firearm or destructive device or any other dangerous weapon
                   G a failure to register under 18 U.S.C. § 2250
G (2)         The offense described in finding (1) was committed while the defendant was on release pending trial for a
              federal, state release or local offense.

G (3)         A period of less than five years has elapsed since the        G date of conviction      G the defendant’s release
              from prison for the offense described in finding (1).
G (4)         Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the safety
              of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                         Alternative Findings (A)
G (1)         There is probable cause to believe that the defendant has committed an offense
               G for which a maximum prison term of ten years or more is prescribed in                                      .
               G under 18 U.S.C. § 924(c).


                                                                                                                                Page 1 of 3
         Case 2:11-cr-20704-SFC-RSW ECF No. 46, PageID.103 Filed 12/14/11 Page 2 of 3
AO 472 (Rev. 09/08) Detention Order Pending Trial


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    EASTERN DISTRICT OF MICHIGAN

G (2)       The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
            the defendant’s appearance and the safety of the community.

                                                         Alternative Findings (B)
/ (1)        There is a serious risk that the defendant will not appear.
/ (2)        There is a serious risk that the defendant will endanger the safety of another person or the community.




                                     Part II— Statement of the Reasons for Detention
         I find that the testimony and information submitted at the detention hearing establishes by     / clear and
convincing evidence           / a preponderance of the evidence that
no condition or combination of conditions will reasonably assure the safety of other persons and the community.

[See Attached]




                                               Part III—Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order of United States Court or on request of an attorney for the Government, the person in charge of the corrections facility
must deliver the defendant to the United States marshal for a court appearance.

                                                                                     s/ Sean F. Cox
Date:           December 13, 2011
                                                                                     Judge’s Signature

                                                                           SEAN F. COX, U.S. DISTRICT JUDGE
                                                                                      Name and Title




                                                                                                                         Page 2 of 3
Case 2:11-cr-20704-SFC-RSW ECF No. 46, PageID.104 Filed 12/14/11 Page 3 of 3




Case No. 11-20704, United States v. Isaiah Price.

Defendant is a 28 year old male with a significant criminal history. Defendant is charged in the
instant case with: Conspiracy to Commit Fraud, Access Device Fraud, and Identity Theft.
Although the charges against Defendant are non-violent in nature, Defendant has prior
convictions for felony weapons, felony controlled substances, and misdemeanor domestic
assault. Most concerning is that Defendant is HIV positive and has an outstanding Felony Rape
warrant out of the state of Tennessee. Defendant also has a history of failing to appear for
hearings in prior cases.

Defendant reports that he was employed by a temporary servicing agency for one month prior to
being incarcerated.

Defendant reports that he has a history of depression dating back to his pre-teen years and has
previously sought treatment for his depression while living in Tennessee. Defendant also reports
that he has recently been experiencing suicidal thoughts.

Defendant also admits to daily use of marijuana, cocaine, and alcohol. He reports that he most
recently used marijuana three days before his arrest, and cocaine two weeks before his arrest.

As stated on the record at the December 8, 2011 bond hearing, the Court finds, by clear and
convincing evidence, that there is serious risk that Defendant will not appear for future hearings
and that Defendant is a danger to the safety of others in the community. He self-reports possible
mental health issues, and daily use of controlled substances. He has multiple prior convictions
for violent offenses and has failed to comply on multiple occasions with the requirements of his
probation. Most recently, Defendant was sentenced to eleven months in prison for aggravated
assault. As stated above, Defendant has an outstanding warrant out of the state of Tennessee for
Felony Rape With a Weapon and Felony Burglary.

Accordingly, there is no condition or combination of conditions that would reasonably assure the
safety of the community or Defendant’s appearance in court. Therefore, detention is ordered.




                                                                                          Page 3 of 3
